                                                                                   J
         Case 2:16-cv-02503-PA-RAO Document 18 Filed 09/06/16 Page 1 of 3 Page ID #:83



                                                                                   J
     1 Peter Chang
       2377 Alamo Heights Drive
     2 Diamond Bar, CA 91765
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     6      --       c~~n
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~'„ 7        Q      -.~~r
                   sr   W
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~, 8         N                       UNITED STATES DISTRICT COURT
             s„ ~ ~~a               CENTRAL DISTRICT OF CALIFORNIA
~9           N            J
  10 PE~R`~Al                                              Case No: CV16-025 PA        Ox)
       N

  11                        Plaintiff in Pro Per
  12 vs.                                                   JOINT STIPULATION OF
                                                           DISMISSAL WITHOUT
  13 FIRST NATIONAL BANK OF OMAHA,                         PREJUDICE AND ORDER
     N.A.,                                                 THEREON
  14
              Defendant
  15
  16
  17                JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
  18              Plaintiff Peter Chang, and Defendant First National Bank of Omaha, hereafter
  19 collectively "the Parties," state as follows:
  20
  21              WHEREAS, The Plaintiff filed a complaint on April 12, 2016, alleging that the
  22 Defendant violated the Fair Credit Reporting Act; and
  23
  24              WHEREAS, The Defendant filed an answer on August 12, 2016, denying all
  25      allegations.
  26
  27              NOW,THEREFORE,the Parties agree and stipulate as follows:
  28

                                                     Page 1 of 2
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 1        1.      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Parties jointly
 2        stipulate to the voluntary dismissal ofthis action without prejudice.
 3        2.      It is the express intention of all the Parties that dismissal pursuant to this
 4        stipulation will have no preclusive effect whatsoever on any future litigation that is based
 5        on the alleged occurrence or recurrence of any claim, fact, or circumstance at issue in the
 6        present case.
 7 3.             The Parties each to bear their own attorney's fees and costs.
 8                Each undersigned representative of the Parties certifies that he or she is fully
 9        authorized to enter into and execute the terms and conditions of this Joint Stipulation of
10 Dismissal.
11                IT IS SO STIPULATED.
12
13 ~ Dated: September 1, 2016
                                                    Peter hang, Plaintiff in Pro Per
14
                                                    2377 Alamo Heights Dr
15                                                  Diamond Bar CA 91765
                                                   (626)905-1555
16
17                                                  FIRST N      IONAL BANK OF MAHA,N.A.
18        Dated: September 1, 2016                           • —'~' 1.
19                                                  Donald T. Dunning
                                                    James MacLeod
20                                                  Attorneys for Defendant
21                                                  The Dunning Law Firm, APC
                                                    4545 Murphy Canyon Rd.#200
22                                                  San Diego CA 92123
23                                                  Tel:(858)974-7600

24
          IT IS SO ORDERED.
25
26
27
      I   Date:      ~                ,2016
                                                     Honorablle Percy Anderson
28                                                   Chief District Judge


                                                      Page 2 of 2
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     1                                        PROOF OF SERVICE
 2
 3               I,      ~~+P,~/ ~'la~,                               (name), declare   as follows. I am over the
 4        age of 18 years. My address is:
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 6                    ~%arz g~.      ~~ C.9- 9/76~~
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11                                                                                                     u
12                     wt~ d ~r~2v 7~h e~~o~
13
14
15   on all interested parties in this action by placing a true and correct copy thereofin
     sealed envelope, with first-class postage prepaid thereon, and deposited said
16 ~
     envelope in the United States mail in ~~a~iflw~ ~'~w C~l;fa»,;,~,          ,addressed
17              ,h _ 1~ ~~n ~                          (city, state)
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19
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21       S6(M ~~~ (i~ gL~23                        (address)                                                       (address)


22
23       I declare under penalty of perjury that the foregoing is true and correct.

24
                Executed on S           ~~i Z ,7 16                  at        ~s ~ ~
25                                        (date)                                       ( lace of signing)

26
                                                                                                                (signature)
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